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            IN THE UNITED STATES DISTRICT COURT
          FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

ALEXANDER W. NDAULA,                :
       Plaintiff                    :
                                    :            No. 1:20-cv-1160
          v.                        :
                                    :            (Judge Rambo)
CLINTON COUNTY                      :
CORRECTIONAL                        :
FACILITY, et al.,                   :
         Defendants                 :

                               ORDER

     AND NOW, on this 30th day of December 2020, in accordance with the

Memorandum issued concurrently with this Order, IT IS ORDERED THAT:

     1.   The motion to dismiss (Doc. No. 19) filed by Defendants Clinton
          County, CCCF, Hoover, and Kormanic is GRANTED IN PART and
          DENIED IN PART, as follows:

          a.    The motion (Doc. No. 19) is GRANTED with respect to
                Plaintiff’s § 1983 claims against these Defendants;

          b.    The motion (Doc. No. 19) is DENIED with respect to Plaintiff’s
                ADA claim against Defendants Clinton County and CCCF;

     2.   The motion to dismiss (Doc. No. 23) filed by Defendants Well Path
          Care and Bainey is GRANTED in its entirety;

     3.   Because the Court has resolved Plaintiff’s claims against them, and
          because Plaintiff is not given leave to file a second amended complaint,
          Defendants Hoover, Kormanic, Bainey, and Well Path Care are
          DISMISSED, and the Clerk of Court is DIRECTED to terminate them
          as Defendants in this action;

     4.   The above-captioned case will proceed as to Plaintiff’s ADA claim
          against Defendants Clinton County and CCCF;
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5.   Defendants Clinton County and CCCF are directed to file an answer to
     the amended complaint (Doc. No. 13) within fourteen (14) days of the
     date of this Order; and

6.   The parties are directed to complete discovery within six (6) months of
     the date on which Defendants Clinton County and CCCF file their
     answer.


                              s/ Sylvia H. Rambo
                              United States District Judge




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